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                          IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   1:11-CR-00052 LJO
                                                     )
12                          Plaintiff,               )   ORDER ON GOVERNMENT’S
                                                     )   APPLICATION FOR PROTECTIVE ORDER
13                                   v.              )   REGARDING SEALED PORTIONS OF
                                                     )   SEARCH WARRANT AFFIDAVIT
14                                                   )
     TIMOTHY DUANE, et. al.,                         )
15                                                   )
                            Defendants.              )
16                                                   )
17          The United States of America, by and through Benjamin B. Wagner, United States Attorney,
18   and Yasin Mohammad, Assistant United States Attorney, having applied for a Protective Order in
19   the above-entitled matter regarding the release of the sealed portion of the search warrant affidavit
20   used to support the search of the defendants’ residence;
21          IT APPEARING THAT, the Superior Court for the State of California, County of Fresno
22   having entered an order pursuant to California Evidence Code Section 1041 and People v. Hobbs
23   (1994) 7 Cal.4th 948, sealing a portion of the search warrant affidavit, sworn to Detective Avila on
24   or about November 16, 2010, in support of a residence located in Fresno, California;
25          IT FURTHER APPEARING THAT the Honorable Jonathan B. Conklin, Superior Court
26   Judge for the State of California, County of Fresno has signed an order authorizing the release of a
27   the sealed portion of the search warrant affidavit by the United States Attorney’s Office to counsel
28   for the defendants in the case of United States v. Lorena Duane, et. al., 1:11-cr-52 LJO;

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 1            At this time, counsel for the defendants shall not disclose the sealed portion of the affidavit
 2   authored by Detective John Avila on or about November 16, 2011 except as necessary in documents
 3   filed with the United States District Court for the Eastern District of California, provided however,
 4   that the sealed portions of the affidavit and any reference thereto also be filed under seal.
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 7   IT IS SO ORDERED.
 8   Dated:      May 27, 2011                           /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
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